      Case 9:19-cr-80181-RAR Document 396 Entered on FLSD Docket 12/15/2022 Page 1 of 1
AO 187 (Rev. 7/87) Exhibit and Witness List



                                                  UNITED STATES DISTRICT COURT
                                                          SOUTHERN                   DISTRICT OF                       FLORIDA
                                                                    Case Number: 9:19-CR-80181-RAR(s)

              UNITED STATES OF AMERICA
                                                                                                                                   WITNESS LIST
                                         v.

                             MINAL PATEL

PRESIDING JUDGE                                                                PLAINTIFF’S ATTORNEY                              DEFENDANT’S ATTORNEY
                                                                                Jamie de Boer, Emily Gurskis,
                                                                                                                                 Steven H. Sadow, Brian T. Rafferty,
                   RODOLFO A. RUIZ II                                               Reginald Cuyler, Jr.,
                                                                                                                                         Donald F. Samuel
                                                                                     Katherine Rookard
TRIAL DATE                                                                     COURT REPORTER                                    COURTROOM DEPUTY
                  11/29/2022 – 12/12/2022                                               ILONA LUPOWITZ                                      Graciela Gomez
 PLF.      DEF.         DATE
                                          MARKED            ADMITTED                                           DESCRIPTION OF EXHIBITS* AND WITNESSES
 NO.       NO.         OFFERED

                   11/29/2022                                                Laurie McMillan

                   11/30/2022                                                C. N.

                   11/30/2022                                                P. W.

                   11/30/2022                                                Senthil Ramamurthy

                    12/1/2022                                                Dr. Brian Slomovitz

                    12/1/2022                                                W. H.

                    12/1/2022                                                Stacey Adair

                    12/2/2022                                                Dr. Anthony Magliocco

                    12/2/2022                                                Kimberly Foss

                    12/2/2022                                                Amy Roebuck

                    12/2/2022                                                Marc Sporn

                     12/6/2022                                               W. I.

                     12/6/2022                                               Shawn Griner

                     12/7/2022                                               Brett Hirsch

                     12/8/2022                                               H. K.

                     12/8/2022                                               Michael Petron




* Include a notation as to the location of any exhibit not held with the case file or not available because of size.

                                                                                                                                        Page 1 of   1   Pages
